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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

CABATECH, LLC,                                   Case No. 1:22-cv-00059-MWM

              Plaintiff,                         Honorable Matthew W. McFarland

       v.

NEXTLIGHT, LLC,

              Defendant.



     DEFENDANT’S
     DEFENDANT'S REPLY IN SUPPORT OF MOTION FOR LEAVE TO FILE
             AMENDED ANSWER AND COUNTERCLAIM


       Defendant NextLight, LLC's
                            LLC’s ("Nextlight")
                                  (“Nextlight”) Motion for Leave to File First Amended

                        (“Motion”) should be granted pursuant to Fed. R. Civ. P.
Answer and Counterclaim ("Motion")

15(a)(2). Plaintiff CABATech, LLC's
                              LLC’s ("Plaintiff")
                                    (“Plaintiff”) brief in opposition to Nextlight’s
                                                                         Nextlight's Motion

fails to demonstrate any actual delay or prejudice, relies on unsupported speculation, and

is simply an attempt to stifle Nextlight from putting forth a full defense and

counterclaims and to prevent this dispute from being fully litigated on the merits.

       Plaintiff primarily argues that leave should be denied because it will

“significantly” delay the resolution of this dispute and cause "undue
"significantly"                                                “undue prejudice”.
                                                                      prejudice".

Critically, Plaintiff’s
            Plaintiff's delay argument fails in light of the fact that i) no scheduling order

has been set by the Court nor has a trial date been set; and ii) the Civ. R. 26(f) conference

has not yet even occurred. Indeed, should the Court grant leave, then the Plaintiff's
                                                                          Plaintiff’s


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concern for any delay could easily be mitigated by taking action itself to file its answer to

Nextlight’s
Nextlight's proposed amended counterclaim (attached to the Motion) in advance of the

Civ. R. 26(f) conference scheduled on September 15th.
                                                15th. In any case, Plaintiff simply fails to

demonstrate that granting the Motion would actually delay any aspect of this litigation

where no scheduling order or trial date have been set by the Court.

       Even if Plaintiff could show any actual delay, "[d]elay
                                                      “[d]elay by itself is not sufficient

reason to deny a motion to amend."
                           amend.” Szoke v. United Parcel Serv. of Am., Inc., 398 F. App'x

145, 153 (6th Cir. 2010). Indeed, leave to amend an answer is frequently given very late in

proceedings, including during and after trial. See Fed. R. Civ. P. 15(b); see also, e.g., Seals

v. GMC, 546 F.3d 766, 770-71 (6th Cir. 2008). As such, no undue delay exists here.

       No prejudice exists here either. Plaintiff generically argues that leave would be

prejudicial "because
            “because it does not help the matter to be decided on the merits."
                                                                      merits.” Plaintiff

does not provide any support for this conclusory assertion, and it is plainly incorrect.

Indeed, Plaintiff is not prejudiced at all with respect to this litigation - it has ample notice

and a full and fair opportunity to litigate and conduct discovery on the amended

counterclaims and defenses as no scheduling order or discovery deadline have been set.

Plaintiff would not be required to expend significant additional resources to conduct

discovery and prepare for trial, nor does it even raise that argument. See Phelps v.

McClellan, 30 F.3d 658, 662-3 (6th Cir. 1994) ("In
                                              (“In determining what constitutes prejudice

the court considers whether the assertion of the new claim or defense would: require the



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opponent to expend significant additional resources to conduct discovery and prepare

for trial[.]”).
    trial[.]"). Nextlight’s
                Nextlight's assertion of defenses and counterclaims related to the newly

discovered five-year warranty, which was not previously alleged, also ensures a full and

fair determination of this dispute on the merits. This is especially true here since Nextlight

is the defendant in the original action.

       Plaintiff argues that the information sought to be amended is not newly discovered

because it was contained on Plaintiff’s         “from the very beginning of this matter."
                            Plaintiff's website "from                            matter.”

However, the fact that information exists prior to a lawsuit does not preclude it from

being newly discovered in the course of litigation by a party or its counsel. Even if that

were the case, a court has discretion to deny leave due to a failure to incorporate

previously available evidence only when an undue delay would also result. Leisure

Caviar, LLC v. U.S. Fish & Wildlife Serv., 616 F.3d 612, 616 (6th Cir. 2010) (emphasis added).

As is explained above, no actual delay exists and Plaintiff’s
                                                  Plaintiff's argument therefore fails.

       Plaintiff also takes the unsupported position that Nextlight must provide a reason

as to why the warranty information could not have been included in its original

pleadings, but as the Motion stated, this information was newly discovered by Nextlight

and its counsel even if it did exist prior to the lawsuit.

       Finally, the issues Plaintiff raises with respect to Nextlight not timely responding

to its written discovery requests are not germane to the Motion or the Court granting

leave to amend at all. These perceived issues are also substantively meritless -– Civ. R.



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26(d)(1) provides that a party may not seek discovery before the parties have conferred

as required by Rule 26(f). The Rule 26(f) conference has not yet occurred, so Plaintiff's
                                                                              Plaintiff’s

perceived discovery issues are illusory.

II.      CONCLUSION

         For the foregoing reasons, justice requires that the Court grant Defendant

NextLight, LLC leave to amend its Answer and Counterclaim.

                                           Respectfully submitted,

                                           /s/ Paul T. Saba
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                               CERTIFICATE OF SERVICE

         The undersigned hereby certifies that the foregoing was served on all counsel of

record via CM/ECF on August 25, 2022.

                                           /s/ Paul T. Saba
                                           Paul T. Saba (0063723)




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